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Exhibit 2

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Attorney: STEINMEYER, AMANDA G
Law Firm: SPEIGHTS & RUNYAN

Claim Number: 11119
Claimant: BLUE CROSS BLUE SHIELD BUILDING,

As described below, certain questions on the Asbestos Property Damage Proof of
Claim Form require the claimant to provide documents. On the Claim Form identified
above, the following checked questions were not answered or were not responded to
properly, for the reason(s} stated:

MI Category 1 Claim: 0 Category 1 Comments:
16. Documents relating to the purchase and/or installation of the product in the property.

C] No documents were provided.
¥] Documents provided are insufficient because:

they fail to demonstrate that a Grace asbestos-containing product was actually in
the building.

18. Documents concerning when the claimant first knew of the presence of asbestos in

the property.
property XO No documents were provided.

“I Documents provided are insufficient because:

they fail to indicate either expressly or from the nature or cantext of the
document, when the claimant first knew of the presence of asbestos in the

property.
22. Documents concerning efforts to remove, contain and/or abate the Grace product.

M4 No documents were provided. -
C1 Documents provided are insufficient because:

26. Documents concerning testing or sampling for asbestos in the property.
CO No documents were provided.
f] Documents provided are insufficient because:
building air sample results were not included.

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